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             EXHIBIT 3
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From:                 Bradford, David J
Sent:                 Saturday, March 19, 2011 11 :57 AM
To:                   Sottile, James
Cc:                   Bush, Graeme w.; landis@lrclaw.com; Rebecca Butcher; Matthew McGuire; Daniel Rath;
                      Macauley, Thomas G.; Goldfarb, Andrew; Carickhoff@BlankRome.com; Steege, Catherine L;
                      Vail, Andrew W; Sondgeroth, Douglas
Subject:              RE: Tribune


Jim, thank you for your prompt response. To be clear) we intend to serve a Rule 9011 motion
on your firm and your client on Monday) but we do not intend to file it for at least 21 days
thereafter . it is our understanding that the service of the motion will afford your client
and your firm a 21 day "safe harbor" period within which to withdraw the allegations that are
the subject of the motion. We would intend to file the motion only if the offending
allegations are not withdrawn prior to the expiration of the safe harbor period. As I have
indicated to you previously) we take these actions with great reluctance and reiterate our
high regard for you and your firm.

If you have any questions or concerns) I am available to discuss them with you on over the
weekend or on Monday morning.

Best regards) David

From: Sottile) James (j sottile@zuckerman. com)
Sent: Friday, March 18) 2011 4:53 PM
To: Bradford) David J
Cc: Bush) Graeme W.; landis@lrclaw. com; Rebecca Butcher; Matthew McGuire; Daniel Rath;
Macauley) Thomas G.; Goldfarb) Andrew; Carickhoff@BlankRome.com; Steege) Catherine L; Vail,
Andrew W; Sondgeroth) Douglas
Subject: Re: Tribune

David) I acknowledge receipt of your letter sent minutes after conclusion of two weeks of
confirmation hearings. We will consider and respond to your letter on Monday. We trust you
will take no action with respect to filing a Rule 11 motion until we have had an opportunity
to consider and respond to your letter. If that is not the case) please advise me as soon as
possible so that we can respond accordingly.

Jim

Sent from my iPhone

On Mar 18) 2011) at 5:31 PM) "Bradford) David J" (dbradford@jenner.com) wrote:

) Please see the attached. Thank you.
)
)
) David J. Bradford
) Jenner & Block LLP
) 353 N. Clark Street
) Chicago) IL 60654-3456
) Tel (312) 923-2975
) Fax (312) 840-7375
) dbradford@jenner. com
) www. jenner. com(http://www.jenner.com/)
)
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